            Case 1:12-cr-00329-LJO-BAM Document 37 Filed 02/05/13 Page 1 of 2


 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   JEREMY S. KROGER, Bar #258056
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorneys for Defendant
 6   CARLOS LOIS VALENCIA
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )    NO. 1:12-CR-00329 LJO-SKO-2
                                                    )
12                          Plaintiff,              )    STIPULATION TO ADVANCE SENTENCING
                                                    )    AND ORDER THEREON
13          v.                                      )
                                                    )
14   CARLOS LOIS VALENCIA                           )    Date: February 11, 2013
                                                    )    Time: 8:30 a.m.
15                          Defendant.              )    Judge: Hon. Lawrence J. O’Neill
                                                    )
16                                                  )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, counsel for plaintiff, and
20   JEREMY S. KROGER, Assistant Federal Defender, counsel for defendant, CARLOS LOIS VALENCIA,
21   that the date for sentencing in this matter may be advanced to February 11, 2013, or the soonest date
22   thereafter that is convenient to the Court. The date currently set for sentencing is March 11, 2013.
23   The requested new date is February 11, 2013, at 8:30 a.m.
24          The defense has received and reviewed the Advisory Guideline Presentence Investigation Report
25   (PSR) prepared by the United States Probation Office. There are no disputed sentencing issues. Because
26   there is nothing more to be done prior to sentencing, defendant, Carlos Lois Valencia, requests that the
27   sentencing date be advanced in order to bring finality to this matter. AUSA Kathleen Servatius has no
28   objection to this request.
             Case 1:12-cr-00329-LJO-BAM Document 37 Filed 02/05/13 Page 2 of 2


 1            The parties agree that advancing the sentencing date in this matter will further the ends of justice.
 2
 3                                                                  BENJAMIN B. WAGNER
                                                                    United States Attorney
 4
 5            DATED: February 4, 2013                            By: /s/ Kathleen Servatius
                                                                     KATHLEEN A. SERVATIUS
 6                                                                   Assistant U.S. Attorney
                                                                     Attorneys for Plaintiff
 7
 8                                                                  JOSEPH SCHLESINGER
                                                                    Acting Federal Defender
 9
10            DATED: February 4, 2013                            By: /s/ Jeremy Kroger
                                                                     JEREMY S. KROGER
11                                                                   Assistant Federal Defender
                                                                     Attorneys for Defendant
12                                                                   CARLOS LOIS VALENCIA
13
14
15
16                                                       ORDER
17   IT IS SO ORDERED.
18   Dated:      February 5, 2013                   /s/ Lawrence J. O'Neill   B9ed48
                                                    UNITED STATES DISTRICT JUDGE
19
20
21
22
23
24
25
26
27
28


     Valencia - Stipulation to Advance Sentencing            2
